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8                        UNITED STATES DISTRICT COURT
9                       CENTRAL DISTRICT OF CALIFORNIA
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11   KENNETH DAVIDSON,                      Case No. 2:22-cv-03756-FLA (JCx)
12                         Plaintiff,
                                            ORDER DISMISSING ACTION
13             v.                           [DKT. 14]
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15   INFINITELY GROUP INC., et al.,
                           Defendants.
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1          On June 21, 2022, Plaintiff Kenneth Davidson (“Plaintiff”) filed a Notice of
2    Settlement, stating the action had settled in its entirety. Dkt. 14. Having considered
3    the Notice of Settlement and finding good cause therefor, the court hereby ORDERS:
4             1. All deadlines governing this action are vacated. The court’s June 6, 2022
5                 Order to Show Cause is DISCHARGED as moot.
6             2. The court DISMISSES the action without prejudice. The court retains
7                 jurisdiction to vacate this Order and to reopen the action within 60 days
8                 from the date of this Order, provided any request by a party to do so shall
9                 make a showing of good cause as to why the settlement has not been
10                completed within the 60-day period, what further settlement processes
11                are necessary, and when the party making such a request reasonably
12                expects the process to be concluded.
13            3. This Order does not preclude the filing of a stipulation of dismissal with
14                prejudice pursuant to Fed. R. Civ. P. 41, which does not require approval
15                of the court. Such stipulation shall be filed within the aforementioned
16                60-day period, or by such later date ordered by the court pursuant to a
17                stipulation by the parties that conforms to the requirements of a showing
18                of good cause stated above.
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20         IT IS SO ORDERED.
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22   Dated: June 23, 2022                   _______________________________
23                                          FERNANDO L. AENLLE-ROCHA
                                            United States District Judge
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